






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS







IN RE: LEO M. LOZANO ,


Relator.



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No. 08-08-00236-CR

AN ORIGINAL PROCEEDING


IN MANDAMUS



MEMORANDUM OPINION ON PETITION FOR WRIT OF MANDAMUS


	Relator Leo Lozano seeks a second writ of mandamus contending he has been denied his
"prison gate money" in the amount of one hundred dollars.  See In Re Lozano, No. 08-08-00060-CR, 2008 WL 538392 (Tex.App.--El Paso 2008, orig. proceeding).  He now requests that this
Court issue a writ of mandamus ordering the Texas Department of Criminal Justice to issue him
$100, "prison gate money" which he claims he was not provided when he was released from the
Institutional Division on November 21, 2007.

	This Court does not have the authority to issue a writ of mandamus against the Texas
Department of Criminal Justice.  See Tex.Gov't.Code Ann. § 22.221(a)(Vernon 2004).  
Therefore, mandamus relief is denied.


September 11, 2008

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Carr, JJ.


(Do Not Publish)


